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AO 239 (Rev. 01/15) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)

UNITED STATES DISTRICT COURT

 

    

for the
le
[ Cth. )
Plaintiff/Petitioner )
v. 77 ) Civil Action No.
fasake /fotood New JES
Defendant/Respotdent )

APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS

 

(Long Form)
Affidavit in Support of the Application Instructions
I am a plaintiff or petitioner in this case and declare Complete all questions in this application and then sign it.
that I am unable to pay the costs of these proceedings Do not leave any blanks: if the answer to a question is “0,”
and that I am entitled to the relief requested. I declare “none,” or “not applicable (N/A),” write that response. If

under penalty of perjury that the information below is you need more space to answer a question or to explain your
true and understand that a false statement may resultin answer, attach a separate sheet of paper identified with your
a dismissal of my claims. name, yoursase's dgtket number, and the question number.

Signed: ; b; | x Date:

  

 

 

 

1. For both you and your spouse estimate the average amount of money received from each of the following
sources during the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly,
semiannually, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions
for taxes or otherwise.

 

 

Income source Average monthly income Income amount expected
amount during the past 12 next month
months
You Spouse Spouse

 

Employment $

 

Self-employment

GF

 

Income from real property (such as rental income)

 

Interest and dividends

 

 

OITA

 

$
Gifts $ $ $ $
Alimony § § $ $
Child support “ir

 

 

 

 

 

 

 

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Retirement (such as social security, pensions, annuities, $ 7 $ $
insurance) EX
Disability (such as social security, insurance payments) $ LS § OD 5
Unemployment payments § fy Bi § wi 5
Public-assistance (such as welfare) § é wa § DP §
Other (specify): $ fy g SO §
sf? 0.00 0.00 5 0.00 {$ 0.00
Total monthly income: ( , ” . . Oo . .
a /
2. List your employment history for the past two years, most recent employer first. (Gross monthly pay is before taxes or
other deductions.)
Employer Address Dates of employment Gross
monthly pay
$
$
3. List your spouse's employment history for the past two years, most recent employer first. (Gross monthly pay is before
taxes or other deductions.)
Employer Address Dates of employment Gross
monthly pay
§
een
$ r Z wey
$ [zl
4. How much cash do you and your spouse have? $

Below, state any money you or your spouse have in bank accounts or in any other financial institution.

 

Financial institution

Type of account

Amount you have

Amount your
spouse has

 

 

 

 

 

 

 

 

YK

 

If you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts,
expenditures, and balances during the last six months in your institutional accounts. If you have multiple accounts,

perhaps because you have been in multiple institutions, attach one certified statement of each account.
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5. List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
household furnishings.
Assets owned by you or your spouse
Home (Value) $ Oe
Other real estate (Value) 5 x
™

Motor vehicle #/ (Value) $ LP

Make and year:

Model:

Registration #:
Motor vehicle #2 (Value) $ £

EY
7

Make and year:

Model:

Registration #:
Other assets (Value) $ Bo
Other assets (Value) $ Y)
6. State every person, business, or organization owing you or your spouse money, and the amount owed.
Person owing you or your spouse Amount owed to you Amount owed to your spouse
money

 

 

 

 

 

NAY

 

7. State the persons who rely on you or your spouse for support.

 

Name (or, if under 18, initials only) Relationship Age

 

 

 

 

 

 

 

 
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8. Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your
spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the
monthly rate.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

You Your spouse
Rent or home-mortgage payment (including lot rented for mobile home) .
Are real estate taxes included? O Yes O No $ $
Is property insurance included? O Yes (No SE
Utilities (electricity, heating fuel, water, sewer, and telephone) $ Jo ° $
Home maintenance (repairs and upkeep) $ ( $
72%
Food $ q $
Clothing $ Oo $
Laundry and dry-cleaning $ v7 $
Medical and dental expenses $ Y/ $
Transportation (not including motor vehicle payments) $ UV) $
é
Recreation, entertainment, newspapers, magazines, etc. $ a $
. a
Insurance (not deducted from wages or included in mortgage payments)
Homeowner's or renter’s: $ 4 $
Life: $ i $
co ~~
Health: $ BD $
Motor vehicle: $ ft) $
Other: $ As $
Taxes (not deducted from wages or included in mortgage payments) (specify): $ a $
Installment payments
Motor vehicle: $ CF7 $
Credit card (name): $ ; $
/ .
Department store (name): $ $
Other: $ IZ $
Alimony, maintenance, and support paid to others $ Pf? $
7”
 

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Regular expenses for operation of business, profession, or farm (attach detailed $ $
Statement)
YU,
Other (specify): $ $
0.00 |$ 0.00
Total monthly expenses:

10.

11.

12.

 

 

 

 

Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during the
next 12 months

O Yes No If yes, describe on an attached sheet.

Have you spent — or will#vou be spending — any money for expenses or attorney fees in conjunction with this
lawsuit? O Yes 0

If yes, how much? $

vide OF QO hans inform jy ley that will hel > explain why you cannot pee the costs of these procegdings.

S CU 7 [us beer
OL 0 Mo er

Identify the city and state of, ypur legal residence.

“mck Ne wf en
Your daytime phone number: So On 2 7 a0 "6
Your age: * 29 Your years of schooling:

Les
